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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Internet Media Interactive Corporation
                                           Plaintiff,
v.                                                        Case No.: 1:14−cv−07072
                                                          Honorable John Robert Blakey
Sears, Roebuck and Co.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 20, 2015:


        MINUTE entry before the Honorable John Robert Blakey: Pursuant to Defendant's
representation that a settlement has been reached and agreed telephonic motion to extend
the date by which Defendant must answer or otherwise plead, Defendant's answer or other
responsive pleading is now due 5/11/15. The 4/23/15 status hearing date is struck and
reset to 5/12/15 at 9:45 a.m. in Courtroom 1725. The parties should be prepared to set case
management dates at that time if the settlement has not been finalized. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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